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                     EXHIBIT “J”
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To:     18 Boxwood Green Limited (“18 BGL”)

From: Athena Art Finance Corp. (“Athena”)

Date:   7-April-2017

Re:     Loan and Security Agreement, dated as of 31-March-2017 (the “Loan and Security Agreement”),
        by and between 18 BGL and Athena

_____________________________________________________________________________________

        Reference is hereby made to the Loan and Security Agreement. Capitalized terms used herein
and not defined have the meanings set forth in the Loan and Security Agreement.

        Pursuant to Section 3.4 of the Loan and Security Agreement, a Collateral Addition has been
effectuated as of 7-April-2017. In connection with such Collateral Addition, Schedule A of the Loan and
Security Agreement has (in accordance with Section 3.5 thereof) been automatically amended by
Athena to reflect such Collateral Addition. Set forth on Annex A hereto is such amended Schedule A.




 cc:    Inigo Philbrick
        Robert Newland
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                                                                                                       ANNEX A

                                                   SCHEDULE A

                                         ARTWORK COLLATERAL PIECES


                                                                                          ARTWORK
                                                                                         COLLATERAL
       ARTIST, TITLE OF WORK, AND DESCRIPTION                       LOCATION             PIECE VALUE

Donald Judd, Untitled (1967), 5” x 69” x 8”                  Approved Storage Facility

Rudolf Stingel, Untitled (1994), 68” x 52.75”                Approved Storage Facility

Mark Bradford, Rat Catcher of Hamelin II, (2011), 120” x
126”                                                         Approved Storage Facility

Rudolf Stingel, Untitled (2015), 83” x 67” (each, 3 parts)   Approved Storage Facility

Mark Bradford, Untitled (2015), 132” x 120”                  Approved Storage Facility

Jean Michel Basquiat, Humidity (1982), 96” x 72”             Approved Storage Facility
